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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION
IN RE:                                             :
                                                   : CHAPTER 7
WEINSTOCK & SCAVO, P.C.,                           :
                                                   : CASE NO. 12-80220-jrs
        Debtor.                                    :
                                                   : JUDGE SACCA
_                                                  :
                                                   :
WILLIAM J. LAYNG, JR., as Chapter 7 Trustee :
for WEINSTOCK & SCAVO, P.C.,                       :
                                                   : ADVERSARY PROCEEDING
                                                   : NO. 21-05122
        Plaintiff,                                 :
                                                   :
v.                                                 :
                                                   :
US BANK TRUST NATIONAL ASSOCIATION, :
not in its individual capacity but solely as Owner :
Trustee for VRMTG Asset Trust, RBC BANK :
(USA), PNC BANK, NATIONAL                          :
ASSOCIATION, CHARLTON C. LESTER,                   :
JADE EYE 72 TRUST, INTERNAL REVENUE :
SERVICE and JERMAINE BRADLEY,                      :
                                                   :
        Defendants.                                :
                                                   :
                                                   :
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 DEFAULT JUDGMENT IN FAVOR OF PLAINTIFF WILLIAM J. LAYNG, JR., AS
CHAPTER 7 TRUSTEE, AGAINST CO-DEFENDANTS RBC BANK (USA), PNC BANK,
            CHARLTON C. LESTER, JADE EYE 72 TRUST, AND
                        JERMAINE BRADLEY

       IT APPEARING to the Court that Co-Defendants RBC Bank (USA) (“RBC”), PNC Bank
(PNC”), Charlton Carlos Lester (“Lester”), Jade Eye 72 Trust (“Jade Eye”) and Jermaine Bradley
(“Bradley”)(collectively referred to as the “Default Defendants”) have failed to file an answer or
other responsive pleadings to Plaintiff’s Summons and Complaint served on December 6, 2021
and that said answer or other responsive pleadings were due on or about January 5, 2022, and that
no hearing is required; it is hereby
       ORDERED, ADJUDGED AND DECREED that a judgement by default is hereby
entered in favor of Plaintiff against Default Defendants and Plaintiff’s Motion for Default
Judgment is granted as follows:
        (a)    Default Defendants have no claim, lien or encumbrance on the property of

               the estate known as 2225 Wallace Road, SW, Atlanta, Georgia, 30331;


        (b)    Default Defendants have no claim, lien or encumbrance on any of the

               proceeds, by sale or otherwise, from the property of the estate known as

               2225 Wallace Road, SW, Atlanta, Georgia, 30331.


                                       END OF DOCUMENT



Prepared by:
THEODORE N. STAPLETON, P.C.
By: /s/ Theodore N. Stapleton
THEODORE N. STAPLETON
Georgia Bar No. 675850
Attorneys for Plaintiff
Suite 100-B
2802 Paces Ferry Road
Atlanta,    Georgia   30339
Telephone: (770) 436-3334
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tstaple@tstaple.com

                              DISTRIBUTION LIST

                              Theodore N. Stapleton
                              Suite 100-B
                              2802 Paces Ferry Road
                              Atlanta, Georgia 30339

                              Charlton Carlos Lester
                              3434 Hamlin Square, S.W.
                              Atlanta, GA 30331

                              Lisa Caplan, Esq.
                              Rubin Lubin, LLC
                              3145 Avelon Ridge Place
                              Suite 100
                              Peachtree Corners, GA 30071

                              Charlton C. Lester
                              PO Box 43846
                              Atlanta, GA 30336

                              Charlton C. Lester
                              2864 Georgian Dr.
                              West Chamblee, GA 30341-4858

                              Charlton C. Lester
                              PO Box 492289
                              Atlanta, GA 30349
                              Charlton C. Lester
                              2225 Wallace Road, SW
                              Atlanta, GA 30331

                              Internal Revenue Service
                              Bankruptcy Section
                              401 W. Peachtree St. NW
                              Room 900 Stop 334D
                              Atlanta, GA 30308



                             RBC Bank (USA)
                             c/o Lending Service Center
                             PO Box 1220
                             Rocky Mount, NC 27802
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                           Jermaine Bradley
                           150 Campbellton Road
                           Fairburn, GA 30213

                           Jermaine Bradley
                           PO Box 297
                           Union City, GA 30291

                           Vivieon Jones
                           Assistant United States Attorney
                           Northern District of Georgia
                           75 Ted Turner Drive SW, Suite 600
                           Atlanta, GA 30303

                           US Bank Trust National Assoc.
                           as Owner Trustee for VRMTG AssetTrust
                           888 7th Avenue, 10th Floor
                           New York, NY 10019

                           Internal Revenue Service
                           PO Box 7346
                           2970 Market Street
                           Philadelphia, PA 19104

                          Jermaine Bradley
                          150 Campbellton Street
                          Fairburn, GA 30213

                          RBC Bank (USA)
                          W. James Westlake, CEO
                          301 Fayetteville Street
                          Suite 2100
                          Raleigh, NC 27601

                          PNC Bank, National Association
                          Corporation Service Company
                          2 Sun Court, Suite 400
                          Peachtree Corners, GA 30092
